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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative of the         CASE NO.: 9:18-cv-80176-BB/BR
   Estate of David Kleiman, and W&K Info Defense
   Research, LLC

                  Plaintiffs,

   v.

   CRAIG WRIGHT,

                  Defendant.


                         MOTION FOR BRIEF EXTENSION OF TIME
                           TO FILE A MOTION FOR SANCTIONS

         Plaintiffs Ira Kleiman, as the personal representative of the Estate of David Kleiman, and

  W&K Info Defense Research, LLC (“Plaintiffs”), pursuant to Fed. R. Civ. 6(b), hereby file this

  Motion for Brief Extension of Time to File a Motion for Sanctions.

         1.      Under the operative scheduling order [ECF No. 441], all pre-trial motions, motions

  in limine, Daubert motions, and dispositive motions are due Friday, May 8, 2020.

         2.      Plaintiffs intend to file a sanctions motion based on Defendant’s conduct in these

  proceedings. This motion will include, but not be limited to, the Defendant’s provision of a false

  notice and false list of bitcoin addresses in response to this Court’s order allowing him

  “through and including February 3, 2020, to file a notice with the Court indicating whether or not

  this mysterious figure has appeared from the shadows and whether the Defendant now has access

  to the last key slice needed to unlock the encrypted file.” ECF No. [373], at 22. While it is unclear

  whether such a motion constitutes a pre-trial motion that must be filed by May 8th, in an abundance

  of caution, and for good cause shown, Plaintiffs request a brief ten (10) day extension of time to

  file said motion.



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         3.      Under Federal Rule of Civil Procedure 6(b), good cause exists for an extension

  because preparing the sanctions motion will be extremely difficult in light of the substantial other

  briefing due to the Court on May 8th. To that end, Plaintiffs’ counsel is working diligently to

  prepare several motions in limine, motions to strike experts, Daubert motions, and dispositive

  summary judgment motions prior to this Friday’s deadline.

         4.      Adding to this difficulty is the fact that 13 depositions, including 11 expert

  depositions, were conducted over the last two weeks and a number transcripts needed for

  preparation of the above-mentioned motions did not become available until today (with some still

  not delivered). Further adding complexity is that counsels’ offices remain closed due to COVID-

  19 and counsel’s children remain home from school.

         5.      This request will not affect the trial setting, or any other deadline in this action.

         6.      Further, the Defendant will not be prejudiced by the relief requested, which is not

  being sought for the purpose of delay.

         7.      For the forgoing reasons, Plaintiffs request a 10-day extension of time to file their

  sanctions motion, up to and including May 18, 2020.

                               S.D. FLA. L.R. 7.1 CERTIFICATION

         Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for Plaintiffs conferred with counsel for

  Defendant and Defendant opposes the relief requested by Plaintiffs.




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                                                   Respectfully submitted,

   Dated: May 5, 2020                              /s/ Velvel Freedman
                                                   Velvel (Devin) Freedman, Esq.
                                                   Florida Bar No. 99762
                                                   ROCHE CYRULNIK FREEDMAN LLP
                                                   200 S. Biscayne Blvd, Suite 5500
                                                   Miami, Florida 33131
                                                   Telephone: (305) 357-3861
                                                   vel@rcfllp.com
                                                   nbermond@rcfllp.com

                                                   Kyle W. Roche, Esq.
                                                   Joseph M. Delich, Esq.
                                                   Admitted Pro Hac Vice
                                                   ROCHE CYRULNIK FREEDMAN LLP
                                                   99 Park Avenue, Suite 1910
                                                   New York City, NY 10016
                                                   kyle@rcfllp.com
                                                   jdelich@rcfllp.com

                                                   Andrew S. Brenner, Esq.
                                                   BOIES SCHILLER FLEXNER LLP
                                                   100 SE 2nd Street, Suite 2800
                                                   Miami, Florida 33131
                                                   Tel. 305-539-8400
                                                   abrenner@bsfllp.com

                                                   Counsel to Plaintiff Ira Kleiman as Personal
                                                   Representative of the Estate of David Kleiman
                                                   and W&K Info Defense Research, LLC


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 5, 2020, a true and correct copy of the foregoing was
  served via e-mail on all counsel of record


                                                   /s/ Velvel (Devin) Freedman
                                                   Velvel (Devin) Freedman




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